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                                                        THE HONORABLE JOHN C. COUGHENOUR
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 6
                                  UNITED STATES DISTRICT COURT
 7
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9    ADRIANA PONCE, an individual, on behalf of            CASE NO. C19-1718-JCC
      herself and all others that are similarly situated,
10
                                                            MINUTE ORDER
11                           Plaintiffs,
             v.
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      AMAZON.COM SERVICES, INC, et al.,
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                             Defendants.
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             The following Minute Order is made by direction of the Court, the Honorable John C.
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     Coughenour, United States District Judge:
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             This matter comes before the Court sua sponte. In October 2019, this case was
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     transferred to the Western District of Washington from the Northern District of California. (Dkt.
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     No. 75.) On October 24, 2019, this Court notified counsel that, pursuant to LCR 83.1(d)(1), they
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     are required to complete an application for leave to appear pro hac vice. (See Dkt. No. 76.) To
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     date, Plaintiff’s counsel has not filed an application for leave to appear pro hac vice. Plaintiff’s
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     counsel is hereby ORDERED to show cause as to why they have failed to file an application for
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     leave to appear pro hac vice. Plaintiff’s counsel’s response shall be filed on or before 14 days
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     from the date this order is issued.
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     //
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     MINUTE ORDER
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 1        DATED this 18th day of September 2020.

 2                                                 William M. McCool
                                                   Clerk of Court
 3
                                                   s/Tomas Hernandez
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                                                   Deputy Clerk
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     MINUTE ORDER
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